                                          Case 2:17-cv-08868-GW-E Document 64 Filed 07/27/18 Page 1 of 2 Page ID #:874



                                            1 JEDEDIAH WAKEFIELD (CSB No. 178058)
                                              jwakefield@fenwick.com
                                            2 TODD R. GREGORIAN (CSB No. 236096)
                                              tgregorian@fenwick.com
                                            3 ARMEN NERCESSIAN (CSB No. 284906)
                                              anercessian@fenwick.com
                                            4 MATTHEW B. BECKER (CSB No. 291865)
                                              mbecker@fenwick.com
                                            5 FENWICK & WEST LLP
                                              555 California Street, 12th Floor
                                            6 San Francisco, CA 94104
                                              Telephone: 415.875.2300
                                            7 Facsimile: 415.281.1350
                                            8 Attorneys for Defendants
                                              AMAZON.COM, INC. and
                                            9 AMAZON SERVICES LLC
                                          10                       UNITED STATES DISTRICT COURT
                                          11                      CENTRAL DISTRICT OF CALIFORNIA
                                          12                     (WESTERN DIVISION - LOS ANGELES)
F ENWICK & W EST LLP




                                          13
                       ATTORNEYS AT LAW




                                          14 ERIC WEBER and BRYAN REES,                 Case No.: 2:17-cv-08868-GW(Ex)
                                          15                 Plaintiffs,                DEFENDANTS’ RESPONSE TO
                                                                                        PLAINTIFF ERIC WEBER’S
                                          16         v.                                 OBJECTION
                                          17 AMAZON.COM, INC., and AMAZON               Judge:      George H. Wu
                                             SERVICES LLC,                              Trial Date: NONE SET
                                          18
                                                        Defendants.
                                          19
                                          20
                                          21
                                          22
                                          23
                                          24
                                          25
                                          26
                                          27
                                          28
                                                DEFENDANTS’ RESPONSE TO
                                                WEBER’S OBJECTION                            Case No. 2:17-cv-8868-GW(Ex)
                                          Case 2:17-cv-08868-GW-E Document 64 Filed 07/27/18 Page 2 of 2 Page ID #:875



                                            1         At the June 4, 2018 hearing on Defendants Amazon.com, Inc. and Amazon
                                            2 Services LLC’s motion to compel arbitration as to Plaintiff Eric Weber, the Court
                                            3 ordered supplemental briefing on whether Weber ever used the Amazon checkout
                                            4 flows that the Court had approved as creating assent to the Amazon Conditions of
                                            5 Use. After the parties filed those briefs, Weber submitted an additional brief, styled
                                            6 as an “objection,” attacking Defendants for referencing recent developments in the
                                            7 Nicosia lawsuit against Amazon. See Dkt. 62. Plaintiff’s “objection” is yet another
                                            8 effort to get a last word in while unnecessarily multiplying the proceedings.
                                            9         Weber already discussed the Nicosia case in both his opposition to the
                                          10 motion to compel arbitration and in his supplemental brief. See Dkt. 61 at 1, 3-5;
                                          11 Dkt. 30 at 10-12. All Amazon did in its supplemental brief was inform the Court of
                                          12 developments in Nicosia following remand from the Second Circuit. See Dkt. 60 at
F ENWICK & W EST LLP




                                          13 7. There is nothing improper about this, and the Court can give whatever weight to
                       ATTORNEYS AT LAW




                                          14 the Nicosia report and recommendation it deems appropriate. The reasoning of the
                                          15 Nicosia report, not its precedential weight, is what matters: a plaintiff who makes
                                          16 repeated purchases using screens that link to updated service terms assents to those
                                          17 terms under an objective standard. Here, Weber placed hundreds of orders on
                                          18 Amazon, including dozens through the checkout flows that the Court has ruled are
                                          19 sufficient to create assent to the Amazon Conditions of Use. See Dkt. 59 ¶¶ 3, 6,
                                          20 Exs. A, D. Moreover, the suggestion that Defendants referenced the Nicosia report
                                          21 in an attempt to somehow skirt page limits (Dkt. 62 at 3) is laughable, particularly
                                          22 as it comes packaged in yet another round of supplemental briefing from Plaintiff.
                                          23          In short, Weber’s objection just creates a sideshow that distracts from the key
                                          24 issues that remain open on the motion. The Court should overrule it.
                                          25 Dated: July 27, 2018                     FENWICK & WEST LLP
                                          26                                          By: /s/ Jedediah Wakefield
                                                                                         Jedediah Wakefield
                                          27
                                                                                      Attorneys for Defendants AMAZON.COM,
                                          28                                          INC. and AMAZON SERVICES LLC
                                                DEFENDANTS’ RESPONSE TO
                                                WEBER’S OBJECTION                       1          Case No. 2:17-cv-8868-GW(Ex)
